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                               No. 23-12331


           In the United States Court of Appeals
                  for the Eleventh Circuit

                        UNITED STATES OF AMERICA,

                             Plaintiff-Appellee,

                                     v.

                            STATE OF FLORIDA,

                           Defendant-Appellant,


              On Appeal From the United States District Court
                   for the Southern District of Florida


                 BRIEF OF THE STATE OF FLORIDA


                               Andy Bardos
                         James Timothy Moore, Jr.
                              Ashley H. Lukis
                           GRAYROBINSON, P.A.
                   301 South Bronough Street, Suite 600
                     Tallahassee, Florida 32301-1724
                         Telephone: 850-577-9090
                     andy.bardos@gray-robinson.com
                      tim.moore@gray-robinson.com
                     ashley.lukis@gray-robinson.com
                Attorneys for Appellant, the State of Florida
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                 CERTIFICATE OF INTERESTED PERSONS
                AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rule 26.1, the State of Florida furnishes a complete

list of the following:

       1.     Agency for Health Care Administration, State of Florida.

       2.     Agency for Persons with Disabilities, State of Florida.

       3.     Altonaga, Cecilia M., United States District Judge, Southern District of

Florida.

       4.     Bardos, Andy, counsel for the State of Florida.

       5.     Bond, Rebecca B., counsel for the United States.

       6.     Boudet, John, counsel for the State of Florida.

       7.     Clarke, Kristen, counsel for the United States.

       8.     Department of Children and Families, State of Florida.

       9.     Department of Health, State of Florida.

       10.    Dimitrouleas, William P., United States District Judge, Southern District

of Florida.

       11.    Fletcher, James, counsel for the United States.

       12.    Foster, Sydney A.R., counsel for the United States.

       13.    Geddes, Janelle, counsel for the United States.

       14.    Gonzalez, Juan Antonio, counsel for the United States.

       15.    GrayRobinson, P.A., counsel for the State of Florida.

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      16.    Harrell-James, Veronica, counsel for the United States.

      17.    Hooper, Dylan, counsel for the State of Florida.

      18.    Hunt, Patrick M., Magistrate Judge, United States District Court, South-

ern District of Florida, Fort Lauderdale Division.

      19.    LaPointe, Markenzy, counsel for the United States.

      20.    Lenson, Jillian, counsel for the United States.

      21.    Lukis, Ashley Hoffman, counsel for the State of Florida.

      22.    McDonald, Elizabeth E., counsel for the United States.

      23.    Meros, George N., Jr., counsel for the State of Florida.

      24.    Middlebrooks, Donald M., United States District Judge, Southern Dis-

trict of Florida, West Palm Beach Division.

      25.    Moore, James Timothy, Jr., counsel for the State of Florida.

      26.    Park, H. Justin, counsel for the United States.

      27.    Onyekweli, Nonney, counsel for the United States.

      28.    Pearlstein, Amanda Brooke, counsel for the United States.

      29.    Powell, Lauren Latterell, counsel for the United States.

      30.    Price, Tara R., counsel for the State of Florida.

      31.    Protopapadakis, Anastasia, counsel for the State of Florida.

      32.    Raish, Anne S., counsel for the United States.

      33.    Robin-Vergeer, Bonnie I., counsel for the United States.



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       34.    Rosenbaum, Robin S., Former United States District Judge, Southern

District of Florida.

       35.    Seltzer, Barry S., Former United States Magistrate Judge, Southern Dis-

trict of Florida.

       36.    Sheeran, Andrew T., counsel for the State of Florida.

       37.    Shelton, Chantel Doakes, counsel for the United States.

       38.    Shutts & Bowen LLP, counsel for the State of Florida.

       39.    Snow, Lurana S., United States Magistrate Judge, Southern District of

Florida.

       40.    State of Florida, Defendant/Appellant.

       41.    Street, Leslei G., counsel for the State of Florida.

       42.    Thomas, Victoria, counsel for the United States.

       43.    United States of America, Plaintiff/Appellee.

       44.    United States Department of Justice, counsel for the United States.

       45.    Weinstock, Lindsey, counsel for the United States.

       46.    Zeitler, Nicole K., counsel for the United States.

       47.    Zloch, William J., United States District Judge, Southern District of

Florida.




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                   CORPORATE DISCLOSURE STATEMENT

      The State of Florida certifies that no publicly traded company or corporation has

an interest in the outcome of the case. The entities listed above are not publicly traded

and do not have stock ticker symbols.




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               STATEMENT REGARDING ORAL ARGUMENT

      The district court misconstrued the Americans with Disabilities Act and entered

a systemwide injunction that overhauls aspects of Florida’s Medicaid program. Given

the importance of these issues, Florida respectfully requests oral argument. This Court

has granted Florida’s motion to expedite oral argument.




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                         JURISDICTIONAL STATEMENT

      The district court had jurisdiction over this action to enforce Title II of the ADA

under 28 U.S.C. § 1331. ECF No. 700. The district court entered its injunction on July

14, 2023, ECF No. 1171, and a final judgment on July 21, 2023, ECF No. 1175. Florida

filed its notice of appeal on July 17, 2023. ECF No. 1172. This Court has jurisdiction

under 28 U.S.C. § 1291.

                           STATEMENT OF THE ISSUES

      In this action, the United States alleged a single claim: a claim under Olmstead

v. L.C. ex rel. Zimring, 527 U.S. 581 (1999). Olmstead held that Title II of the Ameri-

cans with Disabilities Act requires States to make reasonable accommodations to ena-

ble individuals with disabilities to live outside of institutional settings—such as nursing

homes—if:

      community placement is appropriate, the transfer from institutional care
      to a less restrictive setting is not opposed by the affected individual, and
      the placement can be reasonably accommodated, taking into account the
      resources available to the State and the needs of others with [disabilities].

Id. at 587. The district court relied on this holding to order wholesale, systemic changes

to Florida’s Medicaid program—even though the United States did not propose those

changes until after trial—because, in the court’s view, the Florida Medicaid program

delivers insufficient access to nursing care in the home.




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       The issues presented are:

       1.     Whether the district court erred in concluding that the United States,

based on expert testimony and the handful of unrepresentative exemplars it presented

at trial, met its burden to prove that children are unlawfully institutionalized on a wide-

spread basis, and that the accommodations the United States proposed for the first time

after trial were reasonable and would redress the widespread injuries that the United

States attempted to establish at trial.

       2.     Whether the injunction—which foists on Florida an impossible and un-

precedented burden to ensure that each of the thousands of children who receives in-

home nursing through the Florida Medicaid program utilizes at least 90 percent of au-

thorized hours—is an overly broad and disproportionate response to the evidence pre-

sented at trial.

       3.     Whether, under Title II of the ADA, the United States may sue to enforce

the civil rights of thousands of children who never sought federal enforcement through

the ADA’s administrative enforcement process.

                            STATEMENT OF THE CASE

       A.     Nursing Homes.

       In Florida today, approximately 140 Medicaid-recipient children with complex

medical needs reside in three private nursing homes that serve the pediatric population.

ECF No. 840 at 10 ¶¶ 25–26. Most of these children suffer from severe neurological



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injuries, whether from birth or a traumatic event, or were born prematurely and receive

rehabilitative services associated with their respiratory conditions. T7A at 18:4–21:1.1

      Children in Florida reside in nursing homes for diverse reasons personal to their

parents and families. Some parents want their children to be fully weaned from venti-

lators and other medical equipment before their children come home. Id. at 121:11–16,

123:7–19, 125:2–5, 135:1–8, 138:16–25. One child’s parents were incarcerated until

recently, id. at 124:9–17, while another child’s parents returned to their home in China,

id. at 132:2–12. Hurricane Ian caused extensive damage to one child’s family home.

Id. at 116:20–117:10. Another child’s parents are engaged in a custody dispute. Id. at

141:10–16. For other parents, a transfer home is simply “too much.” Id. at 126:14–18.

      Some children’s families consider their home settings unstable or inappropriate

for a child with complex medical needs. Id. at 128:15–22; T8B at 262:25–263:4. One

child’s mom lives with her mother and would like to establish her own situation before

her child comes home. T7A at 131:7–11. Another mom lives in the Bahamas and lacks

confidence in the care available there. T5 at 224:2–4, 233:9–16. One father wants to

find a larger apartment before his child comes home. T6 at 77:13–21. One mom wants

to convert her garage into a bedroom for the child first. Id. at 285:5–286:12. Another

lives in Mississippi and plans to return to Florida before her child comes home. T5 at



      1
        Trial transcripts are designated by a “T” and the volume number (e.g., “7A”),
and are available at ECF Nos. 894, 896–97, and 906–13.

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219:20–221:8. One parent lives with seven other people in a home that has insufficient

space for her child. T6 at 34:21–35:9. One mom will transfer her child home once she

and her new baby are settled. T8B at 264:7–18. One parent was homeless. T3 at 37:4–

25. Another is learning to care for her child, but is not yet comfortable. T7A at 144:15–

19.

       Some parents feel that nursing homes offer the best care for their children. One

parent, whose husband suffers from Parkinson’s, thinks a nursing home is best suited

to care for her child. T6 at 42:8–45:5. One guardian is so happy with the care provided

at the nursing home that she does not want her child to live anywhere else. Id. at 11:13–

12:10. One father thinks highly of the care his daughter receives in a nursing home and

insists she remain there. Id. at 59:16–25.

       Florida’s Medicaid program pays for the services that nursing homes provide to

children. ECF No. 840 at 10 ¶¶ 23–26. Most Medicaid recipients in Florida receive

services through managed-care plans. Id. at 8 ¶¶ 9–10. Florida contracts with managed-

care plans to provide recipients with access to covered, medically necessary services.

Id. The plans then contract with providers to render services to plan enrollees. Id. at 8

¶ 11, 9 ¶ 14.

       B.       In-Home Nursing.

       For children, Medicaid also covers medically necessary in-home nursing care,

known as private duty nursing. Id. at 11 ¶¶ 37–39. This service is provided in the home



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or other community settings by nurses employed by licensed home health agencies. Id.

To receive reimbursement, a home health agency must establish, through a prior-au-

thorization process, that in-home nursing is medically necessary for the child. Id. at 12

¶¶ 45–46. A prior authorization of in-home nursing may not exceed 180 days and spec-

ifies the number of hours authorized to be provided within the authorization period. Id.

      On average, 2,750 children receive in-home nursing monthly through Florida’s

Medicaid program. Id. at 13 ¶ 52. In Fiscal Year 2021–22, Florida spent nearly $500

million on in-home nursing for children. Id.

      Few children utilize all authorized hours of in-home nursing. T3 at 171:6–20.

One significant cause of this under-utilization is a critical nationwide nursing shortage

across the entire healthcare industry. T8A at 82:11–85:6; T8B at 193:19–195:8; T9A

at 80:23–81:9, 139:13–140:1. Other factors are child- and family-specific. Some par-

ents decline some in-home nursing—for example, when the parent is home and able

to care for the child without the nurse present. T9A at 32:21–25, 78:17–79:5, 140:15–

141:17. Some children spend time in settings, such as hospitals or medical daycares,

that provide their own nurses. Id. at 32:12–20, 79:6–15, 80:11–19, 141:18–142:2.

Some children’s conditions improve, rendering in-home nursing unnecessary. T8B at

192:9–15; T9A at 143:23–144:4. Some parents choose to keep a trusted home health

agency, even though another could deliver more hours. T8B at 218:1–13; T9A at

84:20–85:17. Some parents reject particular nurses or have specific requirements (such



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as language compatibility) that make it difficult or impossible to find suitable nurses.

T9A at 33:8–13, 82:17–83:5. Sometimes, nurses or home health agencies refuse to

serve particular families based on safety concerns or past experiences. Id. at 33:1–3,

82:9–83:18, 138:17–139:12.

      C.     This Litigation.

      The United States sued Florida in 2013 and asserted a single claim: a failure-to-

accommodate claim alleging unlawful institutionalization under Title II of the ADA.

In 2019, over Judge Branch’s dissent, this Court held that Title II authorizes the United

States to sue. United States v. Florida, 938 F.3d 1221 (11th Cir. 2019). The Court then

denied rehearing en banc, while Judge Newsom dissented. United States v. Sec’y, Fla.

Agency for Health Care Admin., 21 F.4th 730 (11th Cir. 2021). The Supreme Court

denied certiorari in the case’s then-interlocutory posture. Florida v. United States, 143

S. Ct. 89 (2022).

      The case proceeded to trial in May 2023. The United States argued that parents

are compelled to place children in nursing homes because Florida’s Medicaid program

delivers insufficient access to in-home nursing. The United States called as witnesses

the parents of only 3 of 140 children who live in nursing homes in Florida. No parent

testified that he or she wants to transfer a child home, but cannot do so because of

Florida. The district court identified seven children who, over ten years, have entered

nursing homes because of insufficient in-home nursing. ECF No. 1170 at 36–37. It did



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not identify any child who lives in a nursing home today, but should be transferred out.

         The United States relied chiefly on the testimony of four expert witnesses.

         First, Dr. Carolyn Foster reviewed the medical records of the children who live

in nursing homes and, based on the children’s medical profiles, opined that all children

in nursing homes could live in community-based settings. T1 at 163:11–166:24, 172:6–

16. Dr. Foster did not, however, assess whether any child’s actual home would be an

appropriate setting for that child and did not know where any specific child would go

if the child were discharged from a nursing home. Id. at 176:3–9, 211:13–22, 213:8–

214:1.

         Second, to determine whether the parents oppose community placement for their

children, Dr. Amy Houtrow and her colleagues conducted unrecorded interviews of the

parents of 45 children (out of 140) who live in nursing homes. T2 at 170:4–180:4. Dr.

Houtrow concluded that parents overall do not oppose community placement. Id. at

200:6–18. In reaching this conclusion, Dr. Houtrow considered parents who currently

want their children to live in nursing homes as “unopposed” to community placement

if the parents’ opposition is founded on reasons that could someday be overcome. Id.

at 226:19–229:6. For example, many parents cited housing as the reason they placed

their children in nursing homes. Id. at 248:18–22. Dr. Houtrow considered this reason

“addressable” and thus counted these parents as unopposed to their children’s transfer.

Id. at 247:25–248:12.



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      Third, Emily Sisson, a data analyst, reviewed seven spreadsheets prepared by

Medicaid managed-care plans in Florida and, based on a sample of 1,956 children who

received in-home nursing between October 2020 and September 2021, found that few

children utilized all authorized hours of in-home nursing. T3 at 132:9–133:6, 167:6–

167:23, 171:6–16. On average, these children utilized between 70 and 80 percent of all

authorized hours. Id. at 170:16–18. Ms. Sisson did not examine why children did not

utilize more authorized hours, id. at 168:3–11, or whether any children were admitted

to nursing homes because of the under-utilization, id. at 170:3–7. Nor did she assess

how many of the 1,956 children were later placed in nursing homes for any reason, id.

at 171:21–172:2, or how the utilization rate in Florida compares to that in other States,

id. at 172:6–12.

      Fourth, Dr. Sally Bachman relied on Ms. Sisson’s statistical analysis to suggest

changes that Florida could make to its Medicaid program. To enhance the availability

of in-home nursing, Dr. Bachman suggested that Florida (1) implement a “more robust

data collection and analysis strategy”; (2) “investigate what kinds of network adequacy

standards would improve access”; (3) “look at reimbursement rates”; and (4) “develop

more robust contract management and accountability mechanisms.” T4 at 120:24–

121:22.

      Dr. Bachman did not, however, propose a particular reimbursement rate, id. at

182:15–18, or know what rates Florida or other States pay for in-home nursing, id. at



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183:3–21. Nor did she assess whether higher rates would attract more nurses to home

health or prevent the admission of children to nursing homes. Id. at 190:1–25, 193:16–

19. Dr. Bachman did not attempt to determine why children do not utilize all authorized

hours of in-home nursing, but testified that there are “many causes” and indeed “too

many even to hypothesize.” Id. at 112:12–113:1, 171:12–173:14. She did not evaluate

the utilization rate in other States, id. at 116:5–12, 178:14–180:6, but agreed that one

would not expect to find 100-percent utilization anywhere, id. at 179:1–10. She could

not say, and did not assess, whether any of her proposals would prevent any particular

child’s institutionalization. Id. at 218:17–219:13. Nor could she name any child who

was institutionalized because Florida had not made the modifications she proposed or

whose future institutionalization would be prevented by her proposals. Id. at 219:14–

220:3.

         The United States also called the parents of ten children, but only three of those

children lived in nursing homes at the time of trial. One of the three children (Cayden

Armour) was discharged during trial. T7A at 30:4–9. The second (Karina Rodriguez)

lives in a nursing home because of housing instability, the parents’ constant exposure

to COVID at work, and her mother’s insistence that the child remain in a nursing home

until the family’s home is ready. T4 at 17:10–13, 26:23–27:9, 30:20–32:7. The mother

of Dondraya Wilson, the third child, testified that, because of her unstable housing, she

does not want to initiate her child’s transfer. T3 at 81:12–82:21. The United States did



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not call any parents who want to bring their children home, but cannot do so because

of Florida.

        Dr. Rayna Letourneau, an assistant professor at the University of South Florida

and the executive director of the Florida Center for Nursing, testified for Florida as an

expert on the nursing workforce. Dr. Letourneau testified that the nursing shortage is

national in scope and affects the entire healthcare industry, including hospitals. T8B at

104:3–127:13. Hospitals, which employ 60 percent of the nursing workforce, struggle

to hire nurses. Id. at 98:23–99:7, 114:9–21, 117:20–118:4. The shortage has multiple

causes, including the pandemic, and no single solution. Id. at 105:12–106:8, 107:12–

110:8, 117:3–19. The district court, the United States, and Dr. Bachman all recognized

the existence of the nursing shortage. T3 at 96:17–23; T5 at 237:14–20; T9B at 51:24–

25.

        Eleven days after trial, the United States submitted a proposed injunction that

contained “reasonable accommodations” that were not previously disclosed. ECF No.

914-1. The district court signed the proposed injunction with minor changes. ECF No.

1171.

        The court found that Florida is violating the civil rights of nearly 3,000 children:

140 children who live in nursing homes and 2,750 children whom the court found to

be “at risk” of nursing-home admission simply because they receive in-home nursing.

ECF No. 1170 at 8–9, 34–35, 44–45, 79. It found that all children in nursing homes



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could live in community settings, that parents want them to, and that the United States

had “suggested the existence of plausible accommodations” to promote that objective.

Id. at 55, 66.

       The court entered a systemwide injunction that orders each child authorized to

receive in-home nursing to receive at least 90 percent of all authorized hours. ECF No.

1171 ¶ II.A.2 The injunction also imposes new mandates regarding transition planning,

data collection, forms, trainings, complaint mechanisms, investigations, contracts, doc-

umentation, external reviews, prior authorizations, and care coordination for thousands

of children. Id. ¶¶ II–V. For example, it requires care coordinators to conduct transition

planning meetings and prepare written transition plans on a quarterly basis, whether or

not the parents want it. Id. ¶¶ I.O., IV.A. It requires Florida to create new programs that

enable families to visit other families or receive family-to-family peer support, id., and

makes Florida responsible to resolve the “barriers” that prevent families from bringing

children home, even if those barriers (such as housing) have nothing to do with Florida,

id. ¶ IV(A)–(C).

       The injunction imposes a monitor on Florida for at least two years—at Florida’s

expense. Id. ¶¶ VI., VII.E. It vests the monitor with broad powers to supervise compli-

ance with the injunction—to hire staff, demand documents, conduct interviews, report



       2
       The court excluded from the computation hours that parents refuse and hours
forgone during hospital admissions. ECF No. 1171 ¶ I.L.

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to the court every two months, and make recommendations for future court action. Id.

The court authorized the monitor to speak ex parte with the parties and then ex parte

with the court, id. ¶ VI.D., and granted the monitor “full access to persons, employees,

facilities, buildings, programs, services, documents, records, and any other materials,”

ECF No. 1188 at 2.

                              STANDARD OF REVIEW

      This Court reviews the entry of a permanent injunction for abuse of discretion.

It reviews legal conclusions de novo and factual findings for clear error. Jones v. Gov-

ernor of Fla., 975 F.3d 1016, 1028 (11th Cir. 2020) (en banc).

                            SUMMARY OF ARGUMENT

      The district court incorrectly interpreted and applied each of the three elements

of Olmstead in an impractical, theoretical way, transforming the highly individualized

elements of an Olmstead claim into abstract, generalized inquiries. Only by adopting

its watered-down interpretation of each element was the district court able to adjudicate

the civil rights of thousands of non-party children in one stroke, without consideration

of their individualized circumstances. In fact, under the district court’s interpretation,

virtually all nursing-home residents of any age will infallibly satisfy all three elements.

      The district court’s approach is harmful. It leaves the United States with almost

no evidentiary burden in an Olmstead action and threatens States with liability for all

nursing-home admissions. And by pressuring States to pursue de-institutionalization at



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any cost, regardless of individualized circumstances, it endangers the lives of children.

       The district court incorrectly found that community placement is appropriate to

the needs of all children in nursing homes. The United States failed to carry its burden

because it presented no evidence that the real-life settings to which children would be

transferred are appropriate to their needs. Instead, its expert conducted a record review

and opined that children in nursing homes could live in some conceivable community

setting, whether or not it exists and is available to them. This interpretation ensures that

the appropriateness element will always be satisfied and wholly subverts that element’s

animating purpose: to ensure that patients are not transferred to inappropriate settings

and that States are not coerced to de-institutionalize patients who have nowhere to go.

       The district court also misinterpreted the second element, which asks whether

parents are opposed to their children’s transfer to the community. There was extensive

evidence at trial that parents place their children in nursing homes for diverse reasons

unrelated to Florida. The court set aside parental preferences under present-day, real-

life circumstances and instead focused on parents’ ideal, perfect-world wishes or future

aspirations. Under that analysis, a parent who intends to bring a child home someday,

but is opposed to doing so today, is deemed unopposed to a transfer, even if the parent’s

reasons (such as housing) have nothing to do with Florida. That interpretation ensures

that the non-opposition element will universally be satisfied and pressures States to de-

institutionalize children before their parents are ready and willing to bring them home.



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       The district court erred in concluding that the United States proved the existence

of reasonable accommodations. First, the United States never tied its proposed accom-

modations to the circumstances of any child to establish that the accommodation would

actually avert any child’s unlawful institutionalization, let alone widespread violations.

Instead, it treated this element as a generalized, legislative inquiry into plausible policy

proposals to improve the delivery of services and promote community living at large.

But the ADA requires proof that an accommodation will be effective in preventing an

individual’s unlawful institutionalization. A probabilistic assumption that a system of

remedies is bound to help someone, someday, somewhere is no substitute for evidence.

And Article III demands evidence of redressability—not a PowerPoint presentation of

plausible policy suggestions, unconnected to the circumstances of individual children.

       Second, the district court erred in concluding that the United States had proven

the reasonableness of its proposed accommodations, since the principal accommoda-

tions in the injunction were first disclosed after trial when the United States submitted

its proposed injunction. The United States proposed one set of accommodations at trial

and another set of accommodations after trial. Its decade-long, strategic non-disclosure

meant that the United States did not establish the reasonableness of the court-ordered

accommodations and that Florida was denied any opportunity to prove its affirmative

defense that the proposed accommodations are infeasible or would fundamentally alter

its services or programs.



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      The injunction is flawed for additional reasons as well. First, systemwide relief

is available only when a plaintiff proves widespread violations. Here, the district court

identified only seven children ever placed in nursing homes because of insufficient in-

home nursing. It did not identify any child who lives in a nursing home today, but must

be transferred out. And no parent testified that she wants to bring her child home, but

cannot do so because of Florida. The court therefore relied on the thousands of children

who receive in-home nursing, but those children do not live in nursing homes. In fact,

the only information in the record about these children is the percentage of authorized

in-home nursing that they utilized. That is not enough to prove an Olmstead violation

or, under Article III, a real and immediate threat of future unlawful institutionalization.

Without evidence of widespread unlawful institutionalization, an award of systemwide

relief was improper.

      Second, the injunction is a wildly overbroad and disproportionate response that

violates principles of federalism. An injunction must be no broader than necessary to

redress proven violations—especially when directed at a fellow sovereign in a system

of federalism. The injunction here takes no heed of these principles. It imposes an ar-

bitrary and unprecedented mandate that nearly 3,000 children utilize at least 90 percent

of their authorized in-home nursing. It layers mandate after mandate on many different

branches of Florida’s service-delivery system. It directs Florida to establish entirely

new programs—which Title II cannot compel a State to do, Disability Rts. Fla., Inc. v.



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Palmer, No. 4:18-cv-342, 2019 WL 11253085, at *5 (N.D. Fla. Aug. 29, 2019)—and

makes Florida responsible to overcome barriers to community living, such as housing,

that are wholly unrelated to Florida. And it installs a monitor with sweeping powers to

supervise all aspects of Florida’s delivery of healthcare services to children with com-

plex medical needs, and to make reports and recommendations to the district court.

Principles of equity and federalism condemn this overbroad or overbearing injunction.

      Third, the injunction’s principal remedy—the 90-percent utilization mandate—

is not an objective action, but rather an arbitrary performance goal that was not shown

to be achievable. The record is replete with undisputed evidence of a national nursing

shortage, and it reveals that there are many individualized reasons unrelated to Florida

why children do not receive all authorized hours of in-home nursing. Nothing in the

record shows that 90-percent utilization is achievable or has ever been achieved in any

State. The only objective action that the court found might increase utilization—higher

reimbursement rates—would require legislative appropriations, which a court may not

order. The court thus ordered Florida to achieve a performance goal—not to take well-

defined, objective actions—and did so without proof that the goal is even achievable.



      Finally, Florida preserves for review its contention that the United States has no

authority to enforce Title II of the ADA. But even if the ADA granted that authority, it

would not include an action (like this one) to enforce the rights of thousands of children



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who never initiated the ADA’s administrative enforcement process. In the prior appeal,

this Court tethered the United States’ enforcement power to an individual’s invocation

of the United States’ assistance through the submission of an administrative complaint.

It did not hold that the United States has an unbounded, freestanding right to sue States.

Only one child at issue here ever filed an administrative complaint—and that child’s

claims were resolved in a separate action. This Court’s decision in the prior appeal did

not permit the United States to parlay one administrative complaint, which has been

resolved, into an action to mass-adjudicate thousands of alleged civil-rights violations

in bulk.

      This Court should reverse the district court’s judgment and vacate its injunction.

                                     ARGUMENT

      The United States’ stated goal in this case was not to vindicate anyone’s rights,

but rather to “change the policies and practices of the State of Florida.” T5 at 239:10–

240:18. It said so: “we’re not suing on behalf of an individual. We’re suing to change

the policies and practices of the State of Florida. To the extent that [individuals] may

ultimately benefit from that [is] hopefully a result of our enforcement action, but . . .

it is not the genesis of our enforcement action.” Id. The district court’s injunction is

tailor-made to serve precisely that purpose: to rewrite Florida’s healthcare policies

without regard to any actual case or controversy. The court erred for the reasons that

follow.



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I.    THE DISTRICT COURT MISINTERPRETED—AND DILUTED—ALL THREE
      OLMSTEAD ELEMENTS.

      A.     The Appropriateness Element.

      Olmstead’s first element requires a plaintiff to show that “community placement

is appropriate” to the individual’s needs. 527 U.S. at 587; accord 28 C.F.R. § 35.130(d)

(requiring public entities to provide services “in the most integrated setting appropriate

to the needs” of individuals). Here, the district court misinterpreted the appropriateness

inquiry to require only a paper review of medical records and no consideration of the

appropriateness of the actual care setting to which the child would be transferred. As a

result, it incorrectly found that all children in nursing homes satisfy the first Olmstead

element.

      The appropriateness element serves a crucial and intensely practical purpose: it

ensures that individuals are not transferred to settings that are unsuited to their needs.

It cannot serve this function absent an assessment of the actual, proposed placement.

As Olmstead noted, it is not “the ADA’s mission to drive States to move institutional-

ized patients into an inappropriate setting, such as a homeless shelter.” 527 U.S. at 605

(plurality opinion). Over and over, Olmstead cautions against the placement of patients

in settings not appropriate to their needs. Id. at 601–02 (explaining that “nothing in the

ADA . . . condones termination of institutional settings for persons unable to handle or

benefit from community settings”); id. at 604 (plurality opinion) (noting that the ADA

does not “impel States to phase out institutions, placing patients in need of close care


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at risk”); id. at 605 (plurality opinion) (noting that, for some individuals, “no placement

outside the institution may ever be appropriate”). As Justice Kennedy emphasized in

his concurrence, it would be a “tragic event” if the ADA were interpreted to pressure

States, “for fear of litigation, to drive those in need of medical care and treatment out

of appropriate care and into settings with too little assistance and supervision.” Id. at

610.

       The United States did not identify the less-restrictive setting to which any child

would be transferred, and of course presented no evidence that the setting would be

appropriate to the child’s needs. Its expert on appropriateness, Dr. Foster, admittedly

did not evaluate the appropriateness of any child’s proposed care setting. T1 at 211:13–

22. She did not know where any child would go if discharged from a nursing home, id.

at 213:19–214:1, and had no opinion on the appropriateness of any setting to which a

child might be transferred, id. at 213:8–18. Instead, Dr. Foster reviewed the children’s

medical records and, based on their medical profiles, opined that each child in a nursing

home could live in some community setting—without considering whether an appro-

priate setting actually exists and is available to the child. Id. at 165:13–166:24, 172:6–

16.

       The district court brushed these omissions aside and concluded that Olmstead

does not require any evaluation of the child’s proposed placement. ECF No. 1170 at

46–47. In contrast to Olmstead’s practical concerns, the district court concluded that



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courts need not “take practical issues into account in evaluating appropriateness.” Id.

at 46. To consider the appropriateness of real-life settings would, the court reasoned,

be “unmanageable and overtly subjective” and also “unfair” to parents of lesser means,

whose homes might be inappropriate to the care of a child with complex medical needs.

Id. The district court therefore endorsed an interpretation of Olmstead that condones

the transfer of children to inappropriate care settings. It interpreted “appropriateness”

to mean only “medical appropriateness,” id. at 46 (emphasis in original)—a nebulous

term found nowhere in Olmstead—and reasoned that the appropriateness of the actual

placement is not “relevant to medical appropriateness,” id. at 47 (emphasis in original).

      The district court excused the United States’ failure to present evidence that less

restrictive settings are available to the children in nursing homes, or that those settings

are appropriate. In doing so, it cleared the way for the mass adjudication of civil-rights

violations by the thousands, with no regard to individualized circumstances beyond an

expert’s inspection of records.

      The district court’s conclusion contravenes the United States’ ADA regulations.

Those regulations ask whether the “setting” is “appropriate to the needs” of the child

and require services to be provided in “the most integrated setting” that is “appropriate”

to those needs. 28 C.F.R. § 35.130(d). Under this regulation, a State has no obligation

to make an accommodation until an appropriate and more integrated setting is identi-

fied. Olmstead’s reference to the appropriateness of “community placement,” 527 U.S.



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at 587, carries the same connotation: “placement” means “the assignment of a person

to a suitable place.” Merriam-Webster Dictionary, https://www.merriam-webster.com.

       Thus, in Radaszewski ex rel. Radaszewski v. Maram, 383 F.3d 599, 612 (7th Cir.

2004), the court considered the appropriateness of the plaintiff’s family home, explain-

ing that “his home is an appropriate care setting for” the plaintiff, who had “lived there

since the onset of his disabilities,” and that the plaintiff “can live at home” and “profits

in that environment from the daily interaction with and nurturing by his parents and

the access to on-line learning that he has at home.” The court considered the plaintiff’s

unique needs and, as Olmstead requires, determined whether the plaintiff can “handle

and benefit” from the proposed alternative placement. See Olmstead, 527 U.S. at 600.3

       To support its interpretation, the district court noted that the Supreme Court did

not assess the appropriateness of a particular setting in Olmstead. ECF No. 1170 at 46.

But that issue was not contested in Olmstead because the two plaintiffs had resided in

the community for years. Br. for Resp’t, Olmstead, 527 U.S. 581 (1999) (No. 98-536),

1999 WL 144128, at *8. Indeed, appropriateness is often uncontested. But here, where



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        The court below also reasoned that some children in nursing homes were once
found eligible for community-based services, which proves that community placement
is appropriate. ECF No. 1170 at 52, 54. But this “once appropriate, always appropriate”
argument was rejected in Boyd v. Steckel, 753 F. Supp. 2d 1163, 1174 n.17 (M.D. Ala.
2010), where the court recognized that the circumstances of individuals with complex
medical needs often change. Here, the court did not identify the children, explain how
and when those eligibility determinations were made, disclose whether the community
setting was assessed, or examine whether the setting or the child’s needs have changed.

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the United States invokes the rights of thousands of children who never complained, it

is very much contested.

       The ADA does not hold States liable for discrimination in the absence of a real-

life community setting that is appropriate to the individual’s needs. If it did, then States

would be liable in the absence of a remedy—and would be pressured to move children

to inappropriate settings to avoid liability. The consequence of discharging children to

unsuitable settings—just because an expert was able to imagine an appropriate one—

could be disastrous. When the lives and health of children are at stake, the law demands

a practical application—not theoretical exercises. Because the United States presented

no evidence of the appropriateness of any proposed care setting for any child, the court

below erred in concluding that all children in nursing homes satisfy the appropriateness

element.

       B.     The Non-Opposition Element.

       Next, Olmstead requires States to make reasonable accommodations to enable

individuals to live in community settings, but only when “the transfer from institutional

care . . . is not opposed by the affected individual.” 527 U.S. at 587. This element en-

sures that the decisions of parents are honored—not explained away—and that States

are not compelled to transfer children out of nursing homes while their parents are not

ready and willing. What matters are the choices of parents under actual conditions and




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present-day, real-life circumstances—not, as the United States maintained, their aspi-

rations for the future or the decisions they might make if circumstances were different.

      The United States failed to satisfy that standard. The evidence overwhelmingly

shows that parents place their children in nursing homes for myriad reasons that have

nothing to do with Florida or its services or programs. These reasons, detailed above,

see supra pp. 3–4, 9–10, include unstable or inadequate housing and the parents’ desire

that children be weaned from medical equipment before coming home. Most parents

want to bring their children home someday—but not today. They are simply not ready.

      Despite reams of evidence that parents place their children in nursing homes for

individualized reasons unrelated to Florida, the district court concluded that virtually

all parents are unopposed to transferring their children to the community. It did so be-

cause it deemed “unopposed” the many parents whose children live in nursing homes

because of personal circumstances unrelated to Florida, but who would not oppose a

transfer someday—at a different time and under different circumstances. As the district

court explained:

      I take issue with the idea that a parent who is not “ready” to transition their
      child home is opposed to bringing their child home, even if their unreadi-
      ness is due to personal circumstances and not the State’s failure to provide
      adequate services. They may want to if they could, and that means they
      are non-opposed within the meaning of Olmstead.

ECF No. 1170 at 61; accord id. at 57 (concluding that parents are unopposed “even if

they are not presently and actively seeking immediate discharge of their children,” and



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that “most parents want their children at home, but they face barriers”). Thus, the court

deemed Bobbie King unopposed, id. at 59, but Ms. King testified that she will transfer

her child home only after she moves from Mississippi to Florida, T5 at 219:20–221:8.

It also considered Marcelia Dalmou unopposed, ECF No. 1170 at 59, but Ms. Dalmou

wants her son to live in a nursing home because she does not “feel comfortable” with

the doctors where she lives in the Bahamas, T5 at 231:21–24, 233:12–16. The district

court observed that Ms. Dalmou would transfer her son home “if she could relocate to

Florida,” ECF No. 1170 at 51, but Ms. Dalmou has no plans to move to Florida, T5 at

234:1–7.

      In effect, the court asked whether parents would oppose their children’s transfer

if the reasons for their opposition were taken away—a question designed to yield only

one possible answer.

      The district court’s definition is untenable. It forces States, for fear of liability,

to transfer children out of nursing homes prematurely, before the parents are ready and

willing, and thus places States and parents at cross-purposes. That is a gross violation

of parental rights and of Olmstead, which rejected the imposition of community care

“on patients who do not desire it.” 527 U.S. at 602. While parents like Ms. King and

Ms. Dalmou made clear that, at least for now, they do not desire community placement

for their children, the court found that Florida violated their children’s rights. Courts

must accord statutes a “practical interpretation,” United States v. Cruz, 698 F.2d 1148,



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1151 (11th Cir. 1983), and the district court’s interpretation is not only impractical, but

dangerous.

      The district court’s watered-down definition guarantees that virtually all nurs-

ing-home residents of all ages satisfy the non-opposition element. An elderly nursing-

home resident who opposes a transfer because he has no housing, but who would prefer

to live in the community under other circumstances, would be considered unopposed.

If choices founded on real-life circumstances can be ignored, then the non-opposition

element is a perfunctory, check-the-box exercise, and States can be liable even though

the nursing-home resident opposes a transfer for reasons neither caused nor controlled

by the State.

      Under the district court’s definition, the ADA tolerates institutional placement

only in the rarest cases: when parents declare unbending opposition to any transfer to

the community, ever. It holds Florida liable today if the parent leaves open any chance

that someday, under different circumstances, she might bring her child home. That im-

practical interpretation creates conflict between the present wishes of parents and Flor-

ida’s obligations and is inconsistent with the cautious and measured spirit of Olmstead.

      Thus, while it recognized that “some families do choose institutionalization, for

various reasons,” and that “their decisions should be honored and supported,” ECF No.

1170 at 51, the district court ignored those reasons and counted as “unopposed” parents

who would transfer their children under hypothetical, nonexistent circumstances. Far



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from honoring and supporting the decisions of parents like Ms. King and Ms. Dalmou,

the court nullified the reasons for their decisions and considered them “unopposed” to

a transfer.

       In doing so, the court relied on Dr. Houtrow’s testimony that parents overall do

not oppose community placement. In reaching that conclusion, Dr. Houtrow advanced

the erroneous definition of non-opposition that the district court adopted. She deemed

any parent who opposes a transfer because of surmountable “barriers” as “unopposed,”

even if those barriers are outside Florida’s control. T2 at 159:14–160:3, 183:14–184:4,

202:2–22, 227:19–229:23, 247:25–248:17. Thus, she opined that a parent who opposes

a transfer because of housing is unopposed because her housing situation might change

someday. Id. at 247:25–248:17.

       Dr. Houtrow conceded that “a lot of families talked about housing as a barrier.”

Id. at 248:18–22. Of the 45 families she interviewed, 18 cited housing as a reason why

their children live in nursing homes. Pl.’s Exs. 5192, 5194, 5196–97, 5199, 5201–03,

5205–06, 5211–12, 5220, 5222, 5230–31, 5235, 5240. Yet Dr. Houtrow deemed all 18

unopposed. Id. She testified that one mother who refuses to transfer her child to a trailer

is unopposed because she would transfer her child home—if only she did not live in a

trailer. T2 at 298:17–300:8. Perhaps because Dr. Houtrow misdefined non-opposition,

seven parents whom Dr. Houtrow interviewed and deemed unopposed contradicted her

and testified that they want their children to remain in nursing homes. T5 at 215–234;



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T6 at 5–18, 33–67, 278–90; Pl.’s Exs. 5198, 5200, 5203, 5214–15, 5240, 5243. The

testimony of these seven parents utterly discredits and invalidates Dr. Houtrow’s. And

tellingly, after ten years, the United States could not find one parent to testify that he

or she is ready and willing to bring a child home, but cannot do so because of Florida.

      To support her definition, Dr. Houtrow offered a puzzling distinction between

opposition to “transitioning” and opposition to “community dwelling.” T2 at 272:10–

16. She argued that a parent might oppose a transfer but not oppose the abstract idea

of community dwelling. Id. at 227:19–229:6, 272:10–16. To illustrate the distinction,

Dr. Houtrow testified that, though her “dream” is to vacation in Bora Bora, she might

decline a plane ticket because her real-life situation forbids it. Id. at 227:19–229:6. Dr.

Houtrow conceded that she “was not asked to evaluate whether families were opposed

or unopposed to transitioning,” id. at 272:10–14, but whether they oppose the abstract

idea of community dwelling.

      Dr. Houtrow evaluated the wrong question. The precise inquiry under Olmstead

is whether the individual opposes “the transfer from institutional care.” 527 U.S. at

587 (emphasis added). Olmstead focuses on present wishes with respect to an objective

action—the child’s transfer—not on perfect-world aspirations or envisioned scenarios




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abstracted from real-life circumstances. It does not require expert witnesses to specu-

late about the decisions that parents would make under circumstances that do not exist.4

      The district court’s definition of non-opposition is also contrary to this Court’s

precedents. In all failure-to-accommodate contexts—whether under the ADA, the Fair

Housing Act, or the Rehabilitation Act—this Court has consistently required plaintiffs

to demonstrate that they made a “specific demand” for an accommodation, which was

refused. E.g., Owens v. Governor’s Off. of Student Achievement, 52 F.4th 1327, 1333–

36 (11th Cir. 2022); Goldberg v. Fla. Int’l Univ., 838 F. App’x 487, 492–93 (11th Cir.

2020). If a State has no obligation to make an accommodation before one is demanded,

then of course it has no obligation to make an accommodation before a parent is even

ready and willing to transfer a child from a nursing home to a less restrictive placement.

      The district court reasoned that insufficient in-home nursing is the chief reason

why parents place their children in nursing homes, ECF No. 1170 at 57, but it identified

only seven children who, over ten years, were admitted to nursing homes because of

insufficient in-home nursing, id. at 36–37. Likewise, in interrogatory answers that were

admitted into evidence at trial, the United States identified only seven children who it



      4
         Dr. Houtrow’s testimony was also hearsay. Dr. Houtrow interviewed parents
to determine their wishes and then relayed the parents’ putative wishes to the court. T2
at 170:4–180:4. When an expert merely summarizes hearsay and presents a synthesis
of out-of-court statements as the expert’s “opinion,” the expert is a conduit for hearsay.
Factory Mut. Ins. Co. v. Alon USA L.P., 705 F.3d 518, 524 (5th Cir. 2013). The hearsay
rule did not permit the United States to funnel parents’ testimony through a paid expert.

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claimed had ever been admitted to nursing homes because in-home nursing was insuf-

ficient. ECF No. 1122-9. Yet 140 children live presently in nursing homes, while 2,750

receive in-home nursing. ECF No. 840 at 10 ¶ 26, 13 ¶ 52. The district court assumed

without evidence that these seven instances are representative of all children in nursing

homes and generalized from these few cases to find widespread unlawful institution-

alization.

       The district court offered no explanation to support its claim that parents who

oppose a transfer for reasons unrelated to Florida are “atypical” or “outliers.” ECF No.

1170 at 57. On the contrary, the United States failed to prove that any child is “stuck”

in a nursing home today. Of the 140 children who reside in nursing homes, the United

States called the parents of three, and not one testified that she wants to bring her child

home, but cannot do so because of Florida. See supra pp. 6, 9–10. The many instances

of children who live in nursing homes for reasons unrelated to Florida greatly outnum-

ber the few nursing-home admissions over the last decade that the court imputed to

Florida.

       Olmstead requires States to respect the decisions of parents—not to ignore those

decisions in zealous pursuit of a de-institutionalization agenda. An abstract, inchoate,

or unexpressed wish to transfer a child home someday, under different circumstances,

does not compel Florida to make accommodations that the parent does not want today.




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The district court’s finding of widespread non-opposition relied on a misinterpretation

of law and should be reversed.

      C.     The Reasonable-Accommodation Element.

      Olmstead’s third element asks whether Florida can reasonably accommodate the

transfer. This inquiry merges with that of remedies: in a failure-to-accommodate case,

the accommodation is the remedy. The plaintiff must prove the existence and reasona-

bleness of an accommodation. Willis v. Conopco, Inc., 108 F.3d 282, 283–86 (11th Cir.

1997); see also L.C. by Zimring v. Olmstead, 138 F.3d 893, 904 (11th Cir. 1998), va-

cated in part on other grounds, 527 U.S. 581 (1999) (citing Willis and concluding that

the plaintiffs had “demonstrated” the existence of a reasonable accommodation). And

like any remedy, the accommodation must redress a legally cognizable injury—here,

unlawful institutionalization. For multiple reasons, the United States failed to carry its

burden.

             1.     The District Court Ordered “Accommodations”
                    Without Evidence of Redressability.

      As a matter of statutory interpretation and Article III standing, an accommoda-

tion under the ADA must be effective. An accommodation that is ineffective does not

“accommodate” anyone and is not an “accommodation” at all. US Airways, Inc. v. Bar-

nett, 535 U.S. 391, 400 (2002) (explaining that the word “accommodation” “conveys

the need for effectiveness” and that an “ineffective ‘modification’ . . . will not accom-




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modate a disabled individual’s limitations”). An accommodation must also be “neces-

sary” to avoid discrimination, 28 C.F.R. § 35.130(b)(7)(i)—here, unlawful institution-

alization—and an accommodation that is ineffective is, of course, also unnecessary,

Hollis v. Chestnut Bend Homeowners Ass’n, 760 F.3d 531, 541 (6th Cir. 2014) (“The

necessity element . . . examines whether the requested accommodation or modification

would redress injuries . . . .”). And under Article III, a plaintiff must always establish

that it is “likely”—not merely “speculative”—that a favorable decision will redress a

legally cognizable injury. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992).

      The United States treated the reasonable-accommodation element as an abstract

legislative discussion about ideas that might promote community living at large—an

opportunity to rethink Florida’s programs. It did not tie its proposed accommodations

to any child’s circumstances or show how those accommodations would prevent any

child’s unlawful institutionalization. It recognized no burden to do so. No one knows

which accommodation, if any, will make a difference for any child. It is impossible to

say whether any of the accommodations will prevent even a single instance of unlawful

institutionalization—and if so, whose.

      Dr. Bachman, who proposed the United States’ accommodations, could not say

and did not evaluate whether any of her proposed modifications to Florida’s programs

would avert any child’s unlawful institutionalization—let alone widespread violations.

T4 at 218:17–219:13. She approached her testimony from a programmatic perspective:



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     Q.      Okay. So you can’t tell me which of your modifications, if any, would
             make a difference for any particular child?

     A.      That’s not the way Medicaid programs approach this.

     Q.      So no?

     A.      Right.

Id. at 219:9–13; accord id. at 218:25–219:1 (“So the work that I do, I don’t look at the

individual names of individual children.”). Nor could Dr. Bachman name a single child

who was ever institutionalized because Florida had not made the “accommodations”

she proposed, or whose future institutionalization would be averted by those “accom-

modations.” Id. at 219:14–220:3. Dr. Bachman treated the courtroom like a healthcare

policy roundtable, offering a menu of policy proposals untethered to the circumstances

of any individual. Id. at 171:12–173:5, 173:12–14, 182:2–13, 192:7–18, 218:17–220:3.

      Neither the district court nor the United States could identify a single child who

will be discharged from a nursing home because of the injunction. Nowhere in its 79-

page opinion did the district court offer even one example of a child who is unlawfully

in a nursing home, and whose institutionalization the injunction will likely avert. ECF

No. 1170 at 67–78. Instead, it relied on the probabilistic assumption that an injunction

laden with so many detailed mandates is sure to help someone, someday, somewhere.

      With no evidence in the record that the injunction’s accommodations will avert

widespread violations—or even one child’s unlawful institutionalization—the remedy

is insupportable under the ADA and Article III. It does not accommodate anyone and


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is not “necessary” to avoid unlawful institutionalization. Nor does the record indicate

it is “likely,” rather than “speculative,” that one or more of the “accommodations” in

the injunction will afford redress and prevent any child’s unlawful institutionalization.

         The district court waved away this fundamental failure of proof, concluding that

the United States was not required to prove that its proposed accommodations are the

“silver bullet” for any child. ECF No. 1170 at 18. But it does not follow that the United

States did not bear a burden to prove the effectiveness and necessity of the accommo-

dations, and a likelihood that civil-rights violations will be redressed on a widespread

basis.

         Just like the first two elements, the district court’s interpretation of Olmstead’s

third element is watered down to the point of futility. The near-total dilution of these

elements ensures that they will always be satisfied. The United States can always prove

that (1) nursing-home residents can conceivably live in some community-based setting

that might or might not actually exist; (2) but for the real-life circumstances that made

them choose nursing homes in the first place, nursing-home residents would prefer to

live in the community; and (3) States can do more to promote community living. By

diluting all three elements beyond recognition, the United States manufactured a new

strain of Olmstead claim that looks nothing like the original, enabling federal courts to

mass-adjudicate thousands of civil-rights violations against absent non-parties at once.




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      Olmstead concerned the desire of two individuals to avoid institutionalization

by enrolling in an existing, community-based program with available capacity, and for

which they were eligible. 138 F.3d at 904. This case bears no resemblance to Olmstead.

The United States pursued a legislative inquiry and presented the district court with a

palette of policy recommendations that it believed might promote community living.

But a trial is not a healthcare symposium. Without any evidence that its policy changes

will redress unlawful institutionalization, the United States’ proposed accommodations

are not judicial remedies for the violation of individual civil rights. Because the court

placed Florida in federal receivership without evidence that the injunction will redress

widespread unlawful institutionalization (or even one child’s injury), this Court should

reverse.

             2.     The District Court Ordered “Accommodations” That
                    Were First Disclosed After Trial—and Thus Never
                    Subjected to Evidentiary Testing.

      The district court’s injunction erroneously requires Florida to make “accommo-

dations” that the United States never disclosed during ten years of litigation or at trial.

These accommodations were first disclosed in a proposed injunction filed eleven days

after the conclusion of trial, ECF No. 914-1, and the district court entered the proposed

injunction with minimal changes, ECF No. 1171. By ordering accommodations never

disclosed in discovery or at trial, the court relieved the United States of its burden to




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establish the reasonableness, effectiveness, and necessity of its proposed accommoda-

tions. It also denied Florida its right to plead and prove, as an affirmative defense, that

the proposed accommodations are infeasible or would fundamentally alter its services

or programs.

       First, the United States could not have carried its burden under the reasonable-

accommodation element if the accommodations it sought and the district court ordered

were first disclosed after trial.

       The injunction’s undisclosed requirements include Parts I.O. (mandating a new

“Transition Planning Process”), II.A. (requiring all children to receive at least 90 per-

cent of authorized in-home nursing hours); II.D.4.–5. (requiring home health compa-

nies to pass reimbursements onto nurses, and incentivizing them to co-staff children’s

cases), II.F. (requiring 90-percent utilization upon discharge from a nursing home until

the child turns 21), III.B.–G. (various changes to health plans’ provision of care coor-

dination, including training, reporting, complaint processes, and interaction with nurs-

ing-facility staff), IV.A. (initiation of individualized Transition Planning Process for all

nursing-facility children), IV.C. (dictating contents of a Transition Plan, including in-

formation provided to parents, barriers to transition identified by parents, and measures

taken to overcome those barriers), and VII.B. (requiring Florida to ensure no parent

feels “pressured” to decline community-based services and prohibiting “retaliat[ion]”).




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        Dr. Bachman did not mention any of these “accommodations” in her testimony.

None of these accommodations was disclosed either in discovery or at trial. Even the

90-percent utilization mandate—the cornerstone of the injunction—was not mentioned

at trial. The United States did not therefore meet its affirmative burden under Olmstead

to establish the reasonableness of these accommodations through evidence presented

at trial.

        Second, in ordering accommodations that the United States first disclosed after

a decade of litigation and a trial, the district court stripped Florida of its right to plead

and prove a fundamental-alteration defense. In Olmstead cases, a defendant may assert,

as an affirmative defense, that a proposed accommodation would fundamentally alter

its services. 28 C.F.R. § 35.130(b)(7)(i); Olmstead, 527 U.S. at 603 (plurality opinion)

(explaining that States may “resist modifications that entail a fundamental alteration of

the States’ services” (internal marks omitted)). Florida was denied any opportunity to

rebut the injunction’s chief remedy—the 90-percent utilization mandate—because the

United States never proposed any utilization mandate in discovery or at trial. When a

party is barred from presenting an affirmative defense, it is denied its fundamental right

to be heard. Nat’l Union Fire Ins. Co. of Pitt. v. City Sav., F.S.B., 28 F.3d 376, 394 (3d

Cir. 1994).

        This result could have been avoided. Over the years, Florida repeatedly sought

to discover the United States’ proposed accommodations so that it could prepare a full



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defense and avoid ambush at trial. T8B at 85:21–88:12; accord ECF No. 793 at 22–

23; ECF No. 740 at 3–4, 6; ECF No. 739 at 6; ECF No. 703 at 12. Florida’s fears were

realized after trial, when the United States first disclosed the accommodations it really

sought. Florida was deprived of the opportunity to present evidence in opposition to

the reasonableness, effectiveness, or necessity of the undisclosed accommodations, or

to establish as an affirmative defense that these new accommodations would be either

infeasible or a fundamental alteration. Stunningly, despite the United States’ decade-

long record of strategic non-disclosure, the district court accused Florida of choosing

to “lie in wait and present none of this defensive evidence” at trial. ECF No. 1178 at 6.

      But the existence of a reasonable accommodation is an element of a plaintiff’s

claim. The plaintiff must plead and prove it. Once the accommodations are identified,

the defendant may assert a fundamental-alteration defense. Until then, a defendant has

nothing to respond to.

      Through Dr. Bachman, the United States proposed various accommodations at

trial, including increases to Medicaid reimbursement rates. Thus, Florida’s evidence

was directed to reimbursement rates. These accommodations were properly before the

Court. After trial, however, the United States proposed a new set of accommodations.

Florida had no chance to present evidence in opposition to these new accommodations.

      Rather than reprimand the United States for evading disclosure and hiding the

ball for ten years, the court signed the United States’ injunction and blamed Florida’s



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failure to divine the accommodations the United States did not timely disclose. ECF

No. 1170 at 67. It then concluded that Florida could not possibly have established a

fundamental-alteration defense, even if the court had allowed it an opportunity to try.

Id.

       This was error. Because it first disclosed most of its proposed accommodations

after trial, the United States failed to carry its burden. And if a plaintiff may propose

one set of accommodations at trial and another after trial, then a fundamental-alteration

defense is meaningless. A plaintiff then need only propose a limited accommodation at

trial as a decoy, and then reveal its fundamental alterations after trial. The district court

erred when it imposed accommodations that the United States saved for post-trial brief-

ing.

II.    THE DISTRICT COURT’S SYSTEMWIDE INJUNCTION IS AN INAPPROPRIATE
       REMEDY.

       A.     The United States Failed to Prove Widespread Unlawful
              Institutionalization.

       Systemwide relief is inappropriate unless violations are “widespread,” Lewis v.

Casey, 518 U.S. 343, 349, 359 (1996), or “pervasive,” Doe 1–13 by & through Doe,

Sr. 1–13 v. Chiles, 136 F.3d 709, 722 n.23 (11th Cir. 1998). The district court identified

only seven children who were ever admitted to nursing homes because of insufficient

in-home nursing—or any other purported action or omission by Florida. ECF No. 1170




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at 36–37. The district court erred in finding widespread unlawful institutionalization of

children.

          Seven instances do not establish widespread violations. See Doe 1–13, 136 F.3d

at 722 n.23 (finding “hundreds, perhaps even thousands” of violations sufficient). Nor

can the naked assumption that these few cases are generalizable to and representative

of the entire population bridge the evidentiary gap and establish violations of the civil

rights of 140 children in nursing homes and 2,750 children who live in the community.

          The district court relied on data showing that most children who are authorized

to receive in-home nursing in the community do not receive 100 percent of authorized

hours. ECF No. 1170 at 34–36. But the evidence that this under-utilization of in-home

nursing causes unlawful institutionalization was sparse, totaling seven instances. The

United States’ expert, Ms. Sisson, did not assess how many of the children who utilized

less than all authorized in-home nursing were placed in nursing homes for any reason.

T3 at 171:21–172:2. These few examples—out of the thousands who receive in-home

nursing—are not enough to show widespread violations and entitlement to systemwide

relief.




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       Without a causal link to unlawful institutionalization, the under-utilization of a

Medicaid service does not prove an Olmstead violation. The United States brought this

action to enforce the ADA—not the Medicaid Act.5

       The district court nevertheless concluded 2,750 children who receive in-home

nursing suffer Olmstead violations because their reliance on that service places them

“at risk” of admission to nursing homes. ECF No. 1170 at 8–9, 34–35, 44–45, 79. But

the record contains virtually no evidence about these children. It contains only seven

spreadsheets showing that, for unknown reasons, and like similar populations in other

States, most of these children utilized fewer than all authorized hours of in-home nurs-

ing. Pl.’s Exs. 2604–10. No evidence even remotely suggests that these children stand

on the brink of institutionalization or need accommodations. Simply put, a spreadsheet

showing a child’s rate of utilization of in-home nursing does not establish an Olmstead

violation—or even the “risk” of an Olmstead violation.

       Nor does the ADA prohibit a “risk” of unlawful institutionalization. It prohibits

unlawful institutionalization itself. Olmstead, 527 U.S. at 600 (concluding that “unjus-

tified institutional isolation” is a “form of discrimination”). After all, a “risk” of future



       5
         Even the Medicaid Act does not demand 100-percent accessibility of services.
It requires Medicaid recipients to receive the same access to services that is available
to the general population in the same geographic area. 42 U.S.C. § 1396a(a)(30)(A).
The United States offered no evidence that, in the midst of a critical shortage of nurses,
the general population has better access to in-home nursing than Medicaid recipients
do.

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injury does not present a case or controversy, Clapper v. Amnesty Int’l USA, 568 U.S.

398, 409 (2013), and courts that have addressed Article III’s intersection with

Olmstead have recognized as much, Bill M. v. Neb. Dep’t of Health & Hum. Servs.,

408 F.3d 1096, 1099 (8th Cir. 2005), vacated on other grounds, 547 U.S. 1067 (2006)

(concluding that a “risk” of institutionalization “does not constitute an actual or immi-

nent harm” under Article III); Dykes v. Dudek, No. 4:11-cv-00116-RS-WCS, 2011 WL

4904407, at *2–3 (N.D. Fla. Oct. 14, 2011) (“Plaintiffs are incorrect in their standing

analysis to the extent that they claim that the threat of institutionalization confers stand-

ing.”). Article III permits federal courts to redress only future injuries that are “immi-

nent” or “certainly impending,” Clapper, 568 U.S. at 409–10, or “real and immediate,”

Shotz v. Cates, 256 F.3d 1077, 1081–82 (11th Cir. 2001) (applying the real-and-imme-

diate standard to a claim under Title II of the ADA). The United States offered no evi-

dence that thousands of community-dwelling children would meet Article III’s prereq-

uisites. And even if a statute could confer a cause of action on plaintiffs who face only

a “risk” of injury, nothing in Title II hints that Congress intended to do so. 42 U.S.C.

§ 12132.6

       The district court’s blanket finding that thousands of children suffer Olmstead

       6
        In fact, the original drafts of Title II of the ADA contemplated suits by a person
“who believes that he or she is being or about to be subjected to discrimination.” H.R.
2273, 101st Cong. § 305 (1989); S. 933, 101st Cong. § 305 (1989) (emphasis added).
Similar language exists in Title III as enacted, 42 U.S.C. § 12188(a)(1), but not in Title
II.

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violations based solely on service utilization rates expands Olmstead and Article III’s

case-or-controversy requirement beyond recognition. Article III exists to limit federal

courts to their proper function and to prevent their adjudication of abstract disputes,

TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021), which is precisely what the

district court did when it found that Florida violated the civil rights of 2,750 children.

      Because the evidence did not reveal widespread unlawful institutionalization, it

does not support systemwide relief.7 This Court should therefore vacate the injunction.

      B.     The Injunction Is Overbroad and Offends Federalism
             Principles.

      The injunction is a wildly overbroad and disproportionate response to the evi-

dence presented at trial—especially in light of federalism principles. Any remedy must

be tailored to the violation proven at trial. And when the defendant is a State, principles

of federalism counsel strongly against overbroad and overbearing injunctions that are

more expansive than strictly necessary. Here, the court found only seven children who

had ever been admitted to nursing homes because in-home nursing was insufficient. It


      7
         The same analysis applies to the district court’s conclusion that Florida’s care-
coordination services cause widespread institutionalization. The record does not come
close to supporting that finding; it does not identify a single child who was ever admit-
ted to a nursing home because care coordination was ineffective. Moreover, the United
States’ challenge to care coordination was predicated on the alleged inadequacy or in-
effectiveness of care coordination—a challenge that is not cognizable under the ADA.
Buchanan v. Maine, 469 F.3d 158 (1st Cir. 2006) (concluding that a challenge to a case
manager’s services is not cognizable under Olmstead). Just as the ADA does not permit
a plaintiff to sue for a better doctor—or impose liability on a State when a doctor fails
to make a diagnosis—it does not permit a plaintiff to sue for a “better” care coordinator.

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exceeded the limits of permissible relief when it ordered 2,750 children to be provided

with at least 90 percent of all authorized hours of in-home nursing; when it imposed

new regulatory mandates on a broad array of state activities, such as care coordination,

transition planning, and data collection; and when it installed an all-powerful monitor.

      The ADA requires only “reasonable” accommodations. 527 U.S. at 581. It does

not require States to “employ any and all means” within their power. Tennessee v. Lane,

541 U.S. 509, 531–32 (2004). The United States’ own regulations recognize that Title

II of the ADA compels only “reasonable modifications.” 28 C.F.R. § 35.130(b)(7)(i).

“Modify” means “to change moderately or in minor fashion.” Biden v. Nebraska, 143

S. Ct. 2355, 2368 (2023) (quoting MCI Telecommc’ns Corp. v. Am. Tel. & Tel. Co., 512

U.S. 218, 225 (1994)). There is nothing moderate or minor about the changes ordered

by the district court; they sweep across the range of Medicaid program administration,

from the provision of in-home nursing to care coordination, transition planning, and

data collection. The injunction’s requirements far exceed “reasonable modifications.”

      Remedies “should be limited to the inadequacy that produced the injury in fact

that the plaintiff has established and no more burdensome to the defendant than neces-

sary to provide complete relief to the plaintiffs.” Georgia v. President of the United

States, 46 F.4th 1283, 1303 (11th Cir. 2022) (cleaned up). Here, that principle would

require, at a minimum, tailoring any injunction—at most—to the seven children whom

the district court found were institutionalized because of insufficient in-home nursing.



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Yet the United States repeatedly disclaimed any intention to seek individualized relief,

ECF No. 760 at 2–4; ECF No. 741 at 2; ECF No. 740 at 6, and the court accordingly

seized control of Florida’s administration of services to children with complex medical

needs.

         The injunction wholly ignores principles of federalism, which limit the scope of

relief awarded against States. Consumer Party v. Davis, 778 F.2d 140, 146 (3d Cir.

1985). Such relief may “intrude into state affairs no more than is absolutely necessary,”

Morrow v. Harwell, 768 F.2d 619, 628 (5th Cir. 1985), and must “be narrowly tailored

to enforce federal constitutional and statutory law only,” Clark v. Coye, 60 F.3d 600,

603–04 (9th Cir. 1995). Courts “should refrain from micromanaging the state and its

agencies.” United States v. Missouri, 535 F.3d 844, 851 (8th Cir. 2008). Orders that

“bristle with interpretive difficulties and invite protracted federal judicial supervision”

of state functions must “be reserved for extreme cases of demonstrated noncompliance

with milder measures. They are last resorts, not first.” ACORN v. Edgar, 56 F.3d 791,

798 (7th Cir. 1995).

         In Rizzo v. Goode, 423 U.S. 362 (1976), the Court invoked federalism principles

to disapprove a broad injunction like the one at issue here. In Rizzo, the district court

identified a “statistical pattern” of misconduct by Philadelphia police, id. at 375–76,

and ordered expansive relief that it believed had the “potential for prevention” of future

misconduct, id. at 366 (quoting Goode v. Rizzo, 506 F.2d 542, 548 (3d Cir. 1974)). The



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Supreme Court reversed. It noted the absence of any evidence that the statistical pattern

was unique to Philadelphia. Id. at 375. It emphasized that “important considerations of

federalism” weighed against broad relief and that “appropriate consideration must be

given to principles of federalism in determining the availability and scope of equitable

relief.” Id. at 378–79.

       Here too, the court below relied on a statistical pattern of service utilization rates

and ordered comprehensive relief that it believed had the potential for prevention of

unlawful institutionalization. But it ignored evidence that a national nursing shortage

places all States in the same position and accorded no weight to federalism principles.

       The injunction not only encumbers Florida’s programs with onerous mandates

found nowhere in federal law, but also coerces Florida into seeking appropriations for

a rate increase in hopes that higher rates will enable Florida to achieve the 90-percent

mandate during a national nursing shortage. While the district court claimed that the

injunction does not require Florida to increase its reimbursement rates, ECF No. 1170

at 72 (“Nothing in my injunction requires Florida to seek appropriations to achieve this

goal.”), it does, indirectly. The only means that the court found would be effective in

increasing utilization of in-home nursing is higher reimbursement rates. ECF No. 1170

at 17–18, 38–39, 63. But increased rates require legislative appropriations, T6 at 198–

99, 208–209; T7A at 68–69, 76–91, 96–98; T8 at 68–70, 144, 146, 148; ECF No. 1170

at n.53; ECF No. 925 at 10–11, and a federal court may not order a legislature to enact



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legislation. Smith Lee Assocs., Inc. v. City of Taylor, 102 F.3d 781, 796–97 (6th Cir.

1996). So the district court ordered a goal—90-percent utilization—that is unachieva-

ble without new appropriations. It sought to do indirectly what it could not do directly.

In doing so, it failed to accord appropriate weight to sensitive questions of federalism.

See Horne v. Flores, 557 U.S. 433, 448 (2009) (“Federalism concerns are heightened

when . . . a federal court decree has the effect of dictating state or local budget priori-

ties.”); Olmstead, 527 U.S. at 612 (Kennedy, J., concurring) (“No State has unlimited

resources, and each must make hard decisions on how much to allocate to treatment of

diseases and disabilities.”); ECF No. 868 at 44–45 (explaining that courts in Olmstead

actions are cautious to avoid interference with state budgets and state budget priorities).

      The district court’s imposition of an all-powerful, state-funded monitor further

degrades Florida from its proper station in a well-balanced system of federalism. The

court empowered the monitor to oversee all aspects of Florida’s efforts to comply with

the injunction and to hire a team of staff and consultants at Florida’s expense. ECF No.

1171 at 9. It authorized the monitor to communicate ex parte with the parties and then

with the court. Id. It granted the monitor “full access to persons, employees, facilities,

buildings, programs, services, documents, records, and any other materials.” ECF No.

1188. And it directed the monitor to submit written reports every two months and to

make recommendations for future court action. ECF No. 1171 at 10. The injunction’s

monitor provisions reduce Florida to federal management—in disregard of federalism.



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      In a parallel Olmstead action, Georgia has paid a monitor the breathtaking sum

of $3.3 million (and counting) over 13 years. Dkt., United States v. Georgia, No. 1:10-

cv-00249 (N.D. Ga.).

      Because equitable principles and federalism condemn the district court’s broad

injunction, the injunction should be vacated.

      C.     The Injunction’s Cornerstone Provision Does Not Prescribe
             Objective Actions, But an Arbitrary and Unachievable
             Performance Goal.

      The United States failed to establish that the injunction’s principal remedy—an

arbitrary 90-percent utilization mandate for all 2,750 children who receive in-home

nursing—is even achievable. The record is replete with evidence of a nursing shortage.

And even apart from the shortage, as Dr. Bachman recognized, there are many reasons

why children do not receive all authorized hours of in-home nursing. Yet the injunction

fails to specify the objective actions that Florida must take to achieve compliance with

the 90-percent utilization “goal.” ECF No. 1170 at 72. An injunction that, without ev-

idence of achievability, sets a goal but does not require objective actions violates Rule

65.

      “An injunction should clearly let the defendant know what he is ordered to do

or not do and should be phrased in terms of objective actions . . . .” United States v.

Askins & Miller Orthopaedics, P.A., 924 F.3d 1348, 1362 (11th Cir. 2019) (quoting

SEC v. Globe, 682 F.3d 934, 950 (11th Cir. 2012) (internal marks omitted)). Thus, in



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Hughey v. JMS Development Corp., 78 F.3d 1523 (11th Cir. 1996), this Court vacated

an injunction that mandated an outcome—stop stormwater discharges—but “failed to

specify how” the defendant could or should achieve that goal. Id. at 1531–32 (emphasis

added). This failure “to specifically identify the acts [the defendant] was required to do

or refrain from doing” indicated that the district court “was incapable of fashioning an

operative command capable of enforcement.” Id. In vacating the injunction, this Court

emphasized that the acts an injunction compels must be achievable. Id. at 1532 (“The

injunctive relief issued by the district court . . . was improper [because] compliance

with its terms was impossible.”); accord Lake Shore Asset Mgmt. Ltd. v. Commodity

Futures Trading Comm’n, 511 F.3d 762, 767 (7th Cir. 2007) (reversing an injunction

to the extent it imposed obligations not within the defendant’s “power to perform”);

NLRB v. Bell Oil & Gas Co., 98 F.2d 405, 406 (5th Cir. 1938) (noting that mandatory

injunctions “should not be hedged about by conditions and qualifications which cannot

be performed”).

      Like the district court in Hughey, the court below ordered Florida to achieve 90-

percent utilization amid a nationwide nursing shortage, without proof of achievability

or specification of objective actions that Florida must take. The omission is especially

problematic because the achievement of a 90-percent utilization rate depends on many

variables beyond Florida’s control: a national nursing shortage and countless decisions




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of parents and private providers, such as nurses and home health agencies, throughout

the State.

       The United States presented no evidence that 90-percent utilization is feasible

and never explained how it arrived at the 90-percent figure. Nor could it have. The 90-

percent figure is wholly arbitrary—it is based on no data or analysis—and the nursing

shortage is real. The district court and the United States both recognized its existence.

T5 at 237:14–20; T9B at 51:24–25. Florida’s expert, Dr. Letourneau, testified that the

shortage is national in scope and affects the entire healthcare industry. T8B at 104:3–

127:13. Hospitals and nursing homes struggle to find nurses. T8B at 114:13–21, 248:9–

18. Another expert, Gary Jessee, testified that the average utilization rate for one home

health agency that does business in seven states is below 70 percent. T8A at 42:10–25.

In contrast, Dr. Bachman had no information about utilization rates in other States, T4

at 178:14–180:6, and did not evaluate whether her proposed “accommodations” would

increase service utilization at all, T4 at 190:1–4, 192:7–12, 193:16–19, 195:24–196:4.

       A 90-percent utilization mandate is tantamount to an mandate to overcome the

nursing shortage. No State has done so. The United State offered no evidence that 90-

percent utilization has ever been achieved anywhere, let alone during a critical nursing

shortage. And even apart from the nursing crisis, 90-percent utilization for each child

will never be achieved. Dr. Bachman agreed that many reasons account for the under-

utilization of in-home nursing. T4 at 171:12–173:14. These reasons are case-specific



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and diverse, see supra pp. 3–4, 9–10, 24, and no evidence suggests they can be over-

come as to all 2,750 children.

        Neither Dr. Bachman nor the United States attempted to determine why children

do not utilize all authorized hours—or the extent to which different reasons account

for the under-utilization of in-home nursing. T3 at 168:3–19; T4 at 171:12–173:14. Dr.

Bachman acknowledged that, without this information, it is impossible to evaluate the

effectiveness of any remedy intended to increase utilization, confirming the absence of

any evidence that the 90-percent utilization mandate is achievable. T4 at 191:1–192:12.

        The district court found that higher reimbursement rates would attract nurses to

home health and increase service utilization, ECF No. 1170 at 17–18, 38–39, 63, but it

did not find that higher rates would increase utilization to 90 percent. Nor can a court

order the enactment of legislation, which increased rates would require. See supra Part

II.B.

        Apart from rate increases, the injunction suggests two possible tools: to enhance

network-adequacy standards and offer undefined incentives for home health agencies

to staff cases jointly. ECF No. 1171 ¶ II.D.3. & 5. Setting aside the vagueness of these

suggestions, the district court made no finding that they would be effective—and the

record furnishes no such evidence. Dr. Bachman did not assess whether enhanced net-

work-adequacy standards would increase utilization of in-home nursing and could not

identify any State that had employed network-adequacy standards for that purpose. T4



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at 195:24–196:4, 198:6–10. And Dr. Bachman said nothing about incentives for home

health agencies, which the United States first proposed after trial. ECF No. 914-1 at 5.

       Rather than order clearly defined objective actions, the district court established

an arbitrary performance measure without evidence of achievability. It erred in doing

so.

III.   THE UNITED STATES LACKS AUTHORITY TO ENFORCE THE RIGHTS OF
       CHILDREN WHO NEVER INITIATED THE ADA’S ADMINISTRATIVE
       ENFORCEMENT PROCESS.

       In an earlier appeal, this Court concluded that, while not mentioned in Title II, a

federal enforcement action is among the remedies that Title II confers on individuals

who file administrative complaints with the United States to enlist the United States’

aid. United States v. Florida, 938 F.3d 1221, 1234–35, 1239–42 (11th Cir. 2019). While

this Court is bound by the prior panel’s decision, Florida reaffirms and preserves for

review its contention that Congress did not authorize the United States to enforce Title

II.

       But even if Congress conferred that authority, it did not grant the United States

an unbounded, freestanding right to enforce the rights of thousands of children. Central

to this Court’s conclusion that the United States may enforce Title II was an adminis-

trative enforcement process that begins when an aggrieved individual files an admin-

istrative complaint with the United States to invoke its assistance in the vindication of

his or her rights. This Court did not hold that, once an individual files an administrative



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complaint, the United States has unfettered discretion to enforce the rights of countless

other individuals who never initiated the enforcement process. See id.; United States v.

Sec’y Fla. Agency for Health Care Admin., 21 F.4th 730, 733 (11th Cir. 2021) (J. Pryor,

J., respecting denial of rehearing en banc) (explaining that the administrative enforce-

ment process “may culminate in suit by the Attorney General on the person’s behalf”).

      Here, only one child (C.M.) whose rights the United States purports to enforce

ever filed an administrative complaint, T5 at 241:14–243:1; ECF Nos. 881-1, 1122-12,

and this Court resolved his claim in a separate proceeding four years ago, A.R. v. Sec’y

Fla. Agency for Health Care Admin., 769 F. App’x 718 (11th Cir. 2019). To permit the

United States to parlay that one complaint—which has been resolved—into an action

to enforce in perpetuity the rights of thousands of children who never enlisted the aid

of the United States would expand the United States’ authority far beyond this Court’s

rationale in the earlier appeal. Nor does the bundle of remedies that the ADA confers

on C.M. include a federal enforcement action to vindicate the rights of other children.

Because the ADA does not grant the United States carte-blanche enforcement powers,

but rather tethers its enforcement authority to an administrative enforcement process,

the United States cannot enforce the rights of children who never invoked that process.

      Title II confers only personal rights; it does not create any cause of action, such

as a pattern-or-practice claim, with an aggregate or systemwide focus. To hold that the

United States may enforce the rights of any and all children whenever it receives one



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administrative complaint would conflict with this Court’s prior decision. Even if it may

enforce Title II, the United States may not extend that power to the boundless scope of

this action.

                                   CONCLUSION

       This Court should reverse the district court’s judgment and vacate its injunction.

 Dated September 18, 2023.                   Respectfully submitted,




                                             /s/ Andy Bardos
                                             Andy Bardos (FBN 822671)
                                             andy.bardos@gray-robinson.com
                                             James Timothy Moore, Jr. (FBN 70023)
                                             tim.moore@gray-robinson.com
                                             Ashley H. Lukis (FBN 106391)
                                             ashley.lukis@gray-robinson.com
                                             GRAYROBINSON, P.A.
                                             301 South Bronough Street, Suite 600
                                             Tallahassee, Florida 32301-1724
                                             Telephone: 850-577-9090
                                             Attorneys for Appellant, the State of
                                             Florida




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g)(1), undersigned counsel

certifies, in reliance on the word count of the word-processing system used to prepare

this document, that this document contains 13,000 words and therefore complies with

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                                            /s/ Andy Bardos
                                            Andy Bardos (FBN 822671)
                                            GRAYROBINSON, P.A.




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